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 1                          UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF MICHIGAN
 2                                   SOUTHERN DIVISION
 3
     UNITED STATES OF AMERICA,                             )
 4
                                                           )
                         Plaintiff,                        )
 5                                                         )    NO. 21-CR-00040
            vs.                                            )
 6                                                         )    HON. ROBERT J. JONKER
     DANIEL REYNOLD DEJAGER,                               )
 7   a/k/a Daniel Reynold, aka Daniel Miester,             )    DEFENDANT’S INITIAL
     a/k/a Danichi,                                        )    PRETRIAL CONFERENCE
 8                                                         )    SUMMARY STATEMENT
                         Defendant.                        )
 9
                                                           )
                                                           )
10

11            Defendant, Daniel Reynold Dejager, through his attorney, submits the following
     initial pretrial conference summary statement.
12
     I.       DISCOVERY
13            The defendant requests disclosure pursuant to Federal Rules of Evidence 404(b).
              The defendant [XX] will [ ] will not provide reciprocal discovery.
14
     II.      TRIAL
15
              The defendant requests a jury trial.
16
     III.   MISCELLANEOUS
17          The parties acknowledged that if the case is appropriate for expedited resolution and
     sentencing, a joint motion for expedited sentencing shall be filed within 14 days of
18   arraignment.

19           [XX] Counsel for defendant is unaware at this time of any known conflict with
     counsel’s representation of defendant. Counsel will immediately advise the court if any such
20   conflict becomes know.
21   IV.    OBLIGATIONS
            [XX] Counsel for defendant acknowledges having reviewed the Obligations of
22
     Defense Counsel section available at the court’s website, www.miwd.uscourts.gov >>
23   Attorney Information >> Criminal Case Information.

24
     Dated:          March 8, 2021                   Brett A. Purtzer
25                                                   Counsel for defendant Dejager
